Case 1:19-cv-01337-ALC Document 1-1 Filed 02/12/19 Page 1 of 3




              EXHIBIT A
                        Case 1:19-cv-01337-ALC Document 1-1 Filed 02/12/19 Page 2 of 3
                                                                                                                                   Jeremy​ ​Singer-Vine 
                                                                                                                                        BuzzFeed​ ​News 
                                                                                                                  111​ ​East​ ​18th​ ​Street,​ ​Newsroom 
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November​ ​16,​ ​2017 
 
Headquarters​ ​Air​ ​Force/AAII​ ​(FOIA) 
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            Pursuant​ ​to​ ​the​ ​federal​ ​Freedom​ ​of​ ​Information​ ​Act,​ ​5​ ​U.S.C.​ ​§​ ​552​ ​et​ ​seq.,​ ​I​ ​request​ ​copies​ ​of​ ​I​ ​request 
copies​ ​of​ ​the​ ​following​ ​records:​ ​All​ ​spreadsheets,​ ​PDFs,​ ​and​ ​other​ ​documents​ ​containing​ ​lists​ ​of​ ​civilians 
invited​ ​or​ ​scheduled​ ​to​ ​partake​ ​in​ ​tours​ ​of​ ​Air​ ​Force​ ​One​​ ​between​ ​Jan.​ ​20,​ ​2017​ ​and​ ​the​ ​date​ ​on​ ​which​ ​the 
search​ ​for​ ​these​ ​records​ ​is​ ​completed. 
             
            I​ ​specifically​ ​request​ ​that​ ​the​ ​names​ ​of​ ​the​ ​tour​ ​participants​ ​not​ ​be​ ​redacted​.​ ​Per​ ​below,​ ​the​ ​public 
interest​ ​in​ ​the​ ​disclosure​ ​of​ ​these​ ​names​ ​far​ ​outweighs​ ​any​ ​privacy​ ​interest​ ​under​ ​the​ ​Act. 
             
            I​ ​request​ ​these​ ​records​ ​in​ ​their​ ​native​ ​digital​ ​formats​,​ ​where​ ​possible,​ ​rather​ ​than​ ​on​ ​paper​ ​or​ ​—​ ​in​ ​the 
case​ ​of​ ​spreadsheets​ ​—​ ​converted​ ​to​ ​PDF​ ​files. 
             
            I​ ​am​ ​making​ ​this​ ​request​ ​on​ ​behalf​ ​of​ ​BuzzFeed​ ​News,​ ​and​ ​for​ ​the​ ​purposes​ ​of​ ​informing​ ​the​ ​general 
public. 
             
            Under​ ​28​ ​C.F.R.​ ​16.5(d)(1)(iv),​ ​a​ ​request​ ​is​ ​to​ ​be​ ​given​ ​expedited​ ​processing​​ ​when​ ​it​ ​involves​ ​“[a]​ ​matter 
of​ ​widespread​ ​and​ ​exceptional​ ​media​ ​interest​ ​in​ ​which​ ​there​ ​exist​ ​possible​ ​questions​ ​about​ ​the​ ​government’s 
integrity​ ​which​ ​affect​ ​public​ ​confidence.”​ ​ ​I​ ​am​ ​seeking​ ​expedited​ ​treatment​ ​for​ ​this​ ​request. 
             
            This​ ​request​ ​clearly​ ​involves​ ​a​ ​matter​ ​of​ ​widespread​ ​and​ ​exceptional​ ​media​ ​interest.​ ​It​ ​is​ ​my​ ​understanding 
that​ ​least​ ​some​ ​of​ ​the​ ​people​ ​offered​ ​tours​ ​of​ ​Air​ ​Force​ ​One​ ​are​ ​members​ ​of​ ​Mar-a-Lago.​ ​That​ ​Florida​ ​resort, 
owned​ ​by​ ​the​ ​President’s​ ​family,​ ​has​ ​come​ ​under​ ​widespread​ ​public​ ​and​ ​media​ ​scrutiny​ ​for​ ​providing​ ​its​ ​members 
with​ ​unique​ ​access​ ​to​ ​the​ ​President.​ ​As​ ​such,​ ​it​ ​is​ ​deeply​ ​in​ ​the​ ​public’s​ ​interest​ ​to​ ​know​ ​who​ ​has​ ​been​ ​invited​ ​to 
take,​ ​and​ ​taken,​ ​these​ ​tours. 
             
            Although​ ​expedited​ ​processing​ ​is​ ​clearly​ ​warranted​ ​under​ ​28​ ​C.F.R.​ ​16.5(d)(1)(iv),​ ​it​ ​is​ ​alternatively​ ​proper 
under​ ​under​ ​28​ ​C.F.R.​ ​16.5(d)(1)(ii)​ ​which​ ​provides​ ​for​ ​expedited​ ​processing​ ​when​ ​there​ ​exists​ ​“[a]n​ ​urgency​ ​to 
inform​ ​the​ ​public​ ​about​ ​an​ ​actual​ ​or​ ​alleged​ ​federal​ ​government​ ​activity,​ ​if​ ​made​ ​by​ ​a​ ​person​ ​primarily​ ​engaged 
in​ ​disseminating​ ​information​.”​ ​I​ ​am​ ​member​ ​of​ ​the​ ​news​ ​team​ ​at​ ​BuzzFeed,​ ​which​ ​a​ ​proven​ ​track​ ​record​ ​of 
disseminating​ ​information​ ​to​ ​the​ ​general​ ​public. 
                        Case 1:19-cv-01337-ALC Document 1-1 Filed 02/12/19 Page 3 of 3
 
          As​ ​I​ ​am​ ​making​ ​this​ ​request​ ​as​ ​a​ ​journalist​ ​and​ ​this​ ​information​ ​is​ ​of​ ​timely​ ​value,​ ​please​ ​please​ ​waive​ ​any 
applicable​ ​duplication​ ​fees.​ ​If​ ​you​ ​determine​ ​that​ ​fees​ ​will​ ​exceed​ ​$25,​ ​please​ ​inform​ ​me​ ​first.​ ​For​ ​the​ ​same​ ​reason,​ ​I 
would​ ​appreciate​ ​you​ ​communicating​ ​with​ ​me​ ​by​ ​telephone​ ​or​ ​electronic​ ​mail,​ ​rather​ ​than​ ​by​ ​postal​ ​mail. 
           
          I​ ​look​ ​forward​ ​to​ ​your​ ​reply​ ​within​ ​10​ ​business​ ​days,​ ​as​ ​the​ ​statute​ ​requires.​ ​Please​ ​let​ ​me​ ​know​ ​if​ ​there​ ​are 
any​ ​clarifications​ ​I​ ​can​ ​make​ ​to​ ​make​ ​this​ ​request​ ​easier​ ​and/or​ ​quicker​ ​to​ ​complete.​ ​My​ ​email​ ​address​ ​and​ ​phone 
numbers​ ​are​ ​listed​ ​above. 
           
                                                                                                                                                      Sincerely, 
                                                                                                                                        Jeremy​ ​Singer-Vine 
